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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                   NO. 4:01CR00190-001 SWW

BRYANT DEWAYNE COGSHELL


                                      ORDER

      The above entitled cause came on for hearing on government’s petition to

revoke the supervised release [doc #199] previously granted this defendant in the

United States District Court for the Eastern District of Arkansas.         Based upon

the admissions of defendant, the Court found that defendant has violated the

conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release

previously granted this defendant, be, and it is hereby, revoked.

      IT   IS   FURTHER   ORDERED   that   defendant   shall   serve   a    term   of

imprisonment of TWENTY-ONE (21) MONTHS in the custody of the Bureau of

Prisons. The Court recommends that defendant be incarcerated in Forrest

City, Arkansas.

      There will be no term of supervised release following the term of

incarceration.

      The defendant is ordered to report to the designated facility on

Monday, January 5, 2009 by noon to begin the service of the sentence

imposed.

      IT IS SO ORDERED this 12th day of November 2008.

                                              /s/Susan Webber Wright

                                              United States District Judge
